 Case 2:18-cv-13737-WJM-ESK Document 55 Filed 03/20/20 Page 1 of 2 PageID: 273
                                           Vincent P. Nolan
                                 18$ Morris Turnpike, Randolph, NJ 07$79
                                              973-462-9161
                                            vpnoIJIse.com


 March 20, 2020
 VIA EMAIL to Clerk of Court and REGULAR MAIL
 The Honorable Edward S. Kiel, U.S.M.J.
 Martin Luther King Jr. Federal Building and US. Courthouse
 40 Walnut Street
 Newark, NJ 07101


 i!TvVO: Malibu Media, LLC v. Vincent Nolan
 Docket No: 2:1$-cv-13737


Dear Judge KeT,
         Enclosed for your records, please find two documents:
             •     Offer of settlement by Plaintiff’s attorney on the part of the Plaintiff.
             •     Defettthut’s Response and rejection of Plaintiffs offer


         I look forward to our scheduled settlement, March 31, 2020, conference in the
                                                                                         above captioned
matter and would ask Your Honor, in light of both Plaintiffs attorney’s planne
                                                                                 d surgery as well as social
distancing practiced due to the current COVID-J 9 pandemic, if the in person confer
                                                                                      ence could be handled
via telephone at this time or postponed until such time that the Plaintiffs attorne
                                                                                   y can travel and the
zriis 4ftl44s ‘iraas          is no longera jlic 1ealth issue.


Sincerely Yours,


 rnent P. Nolan
Defendant ProSe
Case 2:18-cv-13737-WJM-ESK Document 55 Filed 03/20/20 Page 2 of 2 PageID: 274
                                        Vincent P. Nolan
                              18$ Morris Turnpike, Randolph, NJ 07879
                                           973-462-9161
                                         vpnolanlive. corn


 March 20, 2020
 VIA EMAIL and REGULAR MAIL
 Patrick J. Ceritlo, LLC
 4 Walter Foran Blvd.
 Flemington, NJ 08822


 I/M/O: Malibu Media, LLC v. Vincent Nolan
 Docket No: 2:1 $-cv-1 3737


 Dear Mr. Cerillo,

          I am in receipt of your email of March 11, 2020 regarding a settlement in the above captioned
 matter. However, as I, the Defendant have at no time infringed upon any copyrights belonging to the
 Plaintiff, I hereby reject your offer.
         Please note that I look forward to both our upcoming conference with Judge Kiel and subsequent
proceedings before the bench. Please also note that any identification of person or persons external to the
residence and within range of the Defendant’s wireless router will be your responsibility, as these are
within the public domain. Additionally, any and all costs of contact and depositions will also be
comp]etely the responsibility of the Plaintiff, as will any forensic examination of hard drives, should you
choose to pursue this avenue.

        I am intrigued by your statement that you have evidence specific to infringement by the Plaintiff
“and not someone else” and look forward to reviewing that before the Court. Separately, your reference to
a mainstream television program and certain works of music are also interesting, since the Defendant has
never heard of the television title or either of the musical artists.

         So, in summary, it is the Defendant’s position that this action proceed to trial, where the
boilerplate, innuendo and outright unfounded accusation on the part of the Plaintiff can be brought to the
light of day, published in case law and judicial opinion as precedent for future Defendants who find
themselves victims of similar spurious actions on the part of the Plaintiff.


Sincerely Yours,


Vincent P. Nolan
Defendant ProSe


cc: Edward S. Kiel, U.S.M.J
    Attachment
